 Case 3:19-cv-01537-BEN-JLB Document 22-8 Filed 12/06/19 PageID.240 Page 1 of 4




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15                             UNITED STATES DISTRICT COURT
16                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
17
     JAMES MILLER, et al.,                           Case No. 3:19-cv-01537-BEN-JLB
18
19                       Plaintiffs,                 Hon. Roger T. Benitez
                                                     Magistrate Hon. Jill L. Burkhardt
20
          vs.                                        DECLARATION OF MICHAEL A.
21
                                                     SCHWARTZ IN SUPPORT OF
22 XAVIER BECERRA, in his official                   PLAINTIFFS’ MOTION FOR
   capacity as Attorney General of                   PRELIMINARY INJUNCTION
23 California, et al.,
24                                                   Complaint filed:August 15, 2019
                       Defendants.                   Amended Complaint filed:
25
                                                     September 27, 2019
26
27                                                   Hearing Date: January 16, 2020
                                                     Time: 10:00 a.m.
28                                                   Courtroom: 5A, 5th Floor

                DECLARATION OF MICHAEL A. SCHWARTZ IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                              (CASE NO. 3:19-CV-01537-BEN-JLB)
 Case 3:19-cv-01537-BEN-JLB Document 22-8 Filed 12/06/19 PageID.241 Page 2 of 4




 1                      DECLARATION OF MICHAEL SCWARTZ
 2 I, Michael A. Schwarz, declare as follows:
 3      1.   I am an adult resident of the County of San Diego, California. I am the
 4 Executive Director of San Diego County Gun Owners PAC (SDCGO), a plaintiff in the
 5
   above matter. I have personal knowledge of the facts stated herein, and if called as a
 6
   witness, I could competently testify to these facts.
 7
      2. This declaration is executed in support of plaintiffs’ motion for a preliminary
 8
 9 injunction.
10      3.   SDCGO is an organization, the purpose of which is to protect and advance the
11 Second Amendment rights of residents of San Diego County, California, through our
12 efforts to support and elect local and state representatives who support the Second
13 Amendment right to keep and bear arms. SDCGO’s membership and donors consist of
14
   Second Amendment supporters, people who own guns for self-defense and sport,
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   firearms dealers, shooting ranges, and elected officials who want to restore and protect
16
   the right to keep and bear arms in California. The relief that SDCGO seeks in this
17
   lawsuit is germane and directly related to our organization’s purposes, and we are
18
19 therefore suing on SDCGO’s own behalf, and on behalf of our members, including all
20 of the individual Plaintiffs herein.
21      4.   Plaintiffs MILLER, HAUFFEN, RUTHERFORD, SEVILLA, PETERSON,
22 GUNFIGHTER TACTICAL, PHILLIPS, and PWG are members of SDCGO.
23     5. By and through communications and discussions with SDCGO members, I am
24
   aware that most if not all of our members wish to exercise their fundamental
25
   constitutional rights and have for lawful purposes including self-defense, proficiency
26
   training, hunting, and sport, common semiautomatic firearms with various common
27
28 characteristics that are defined as “assault weapons” and are thus banned under
                                                   -1-
                  DECLARATION OF MICHAEL SCHWARTZ IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                             (CASE NO. 3:19-CV-01537-BEN-JLB)
 Case 3:19-cv-01537-BEN-JLB Document 22-8 Filed 12/06/19 PageID.242 Page 3 of 4




 1 California law. These characteristics include: removable ammunition feeding devices
 2 (“detachable magazine” 11 C.C.R. § 5471(m), or, with respect to a semiautomatic
 3 shotgun, the “[a]bility to accept a detachable magazine” means it does not have a fixed
 4
   magazine, 11 C.C.R. § 5471(a)), magazines that can hold more than ten rounds of
 5
   ammunition (so-called “large-capacity” magazines), ergonomic grips (e.g., pistol-style
 6
   grips and thumbhole stocks), adjustable stocks (including “collapsible” stocks), muzzle
 7
   devices that reduce flash (“flash suppressors”), forward grips; and, as to rifles, an
 8
 9 overall length of less than 30 inches (California) but at least federally compliant so as to
10 not trigger National Firearms Act restrictions, 26 U.S.C. § 5801, et seq., or California’s
11 “short-barreled rifle” or “short-barreled shotgun” definitions at Cal. Penal Code
12 §§ 17170, 17180, respectively.
13     6. Firearms that meet California’s definitions of “assault weapon” include but are
14
   not limited to standard, AR-15 platform firearms that are commonly sold in most other
15
   jurisdictions in the country.
16
       7. SDCGO has also, itself, had to divert time and resources, including financial
17
18 resources to advance the causes set forth in this lawsuit, and to devote staff time and
19 attention to the matters that are being challenged in the lawsuit. Failure to obtain the
20 relief requested in the lawsuit would result in severe frustration of the purpose and
21 mission of our organization.
22    8. Our law-abiding adult members who are, like me, typical citizens without any
23
   special government exemptions to the laws, have been injured in the same manner
24
   described in the lawsuit and motion, including as asserted by the Individual Plaintiffs.
25
   This lawsuit is brought to vindicate our members’ right to lawfully purchase, own,
26
27 transport, use, and transfer these banned arms, and also brought in a representative
28 capacity to advance the rights of similarly-situated California residents and visitors who
                                                   -2-
                  DECLARATION OF MICHAEL SCHWARTZ IN SUPPORT OF PLAINTIFFS’ MOTION FOR PRELIMINARY INJUNCTION
                                                                             (CASE NO. 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 22-8 Filed 12/06/19 PageID.243 Page 4 of 4




  I   knowingly or unknowingly are subject to California's "assault weapon" statutes and
  2 Defendants' policies, practices, customs, regulations, and enforcement thereof.
  3
        9. Accordingly, and for the reasons set forth in the motion and supporting
  4
    memorandum, we are respectfully requesting that the Court grant preliminary injunctive
  5
    relief, so that Plaintiffs and Plaintiffs' members, and others similarly situated to them
  6
    can exercise their fundamental constitutional rights.
  7
  8          I declare under penalty of perjury that the foregoing 1s true and correct.
  9 Executed on December 5, 2019.

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                  D ECLARATION O F MICHAEL SCHWARTZ I N SUPPORT O F PLAINTIFFS' M OTION F OR PRELIMINARY I NJUNCTION
                                                                                 (CASE No. 3:19-Cv-OJ537-BEN-JLB)
